                                  Case: 1:24-cv-00710-MWM Doc #: 3 Filed: 12/13/24 Page: 1 of 1 PAGEID #: 31
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.                                                            1:24-CV-00710-MWM

                                                                                                  PROOF OF SERVICE
                                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


   This summons for Cengage Learning, Inc.
 was recieved by me on 12/12/2024:

                                       I personally served the summons on the individual at (place) on (date) ; or


                                    I left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
                                    discretion who resides there, on , and mailed a copy to the individual’s last known address; or


                                    I served the summons on THE PRENTICE-HALL CORPORATION SYSTEM, INC., who is designated by law to accept
          X
                                    service of process on behalf of Cengage Learning, Inc. at 1160 Dublin Rd Ste 400, Columbus, OH 43215 on
                                    12/13/2024 at 2:32 PM; or

                                       I returned the summons unexecuted because ; or

                                    Other (specify)




          My fees are $ 0 for travel and $ 95.00 for services, for a total of $ 95.00.


          I declare under penalty of perjury that this information is true.

                                                                                                            {{t:s;r:y;o:"Signer";w:250;h:45;}}




Date:   12/13/2024
        {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




                                                                                                                                                  Server's signature



                                                                                                                                                 Sean Horujko
                                                                                                                                                 Printed name and title



                                                                                                            1285 Tenagra Way
                                                                                                            Columbus, OH 43228


                                                                                                                                                   Server's address




           Additional information regarding attempted service, etc:

           I delivered the documents, Complaint; Summons, to THE PRENTICE-HALL CORPORATION SYSTEM, INC.,
           REGISTERED AGENT with identity confirmed by subject stating their name. The individual accepted service with
           direct delivery. The individual appeared to be a red-headed white female contact 35-45 years of age, 5'6"-5'8" tall and
           weighing 140-160 lbs. Served Stephanie Gibson directly




                                                                                                                                                               Tracking #: 0152042682
